                 Case 3:21-cv-01525-SI     Document 44   Filed 09/28/22   Page 1 of 4




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                                UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                         PORTLAND DIVISION




NICOLE MORETTI, as Personal                      Case No. 3:21-cv-1525
Representative of the Estate of SAYLOR
MORETTI, deceased,                               DEFENDANTS LETTY OWINGS
                                                 CENTER AND CENTRAL CITY
                           Plaintiff,            CONCERN’S UNOPPOSED MOTION
                                                 FOR AN EXTENSION OF TIME
                     v.
                                     By Letty Owings Center and Central City
LETTY OWINGS CENTER, CENTRAL         Concern
CITY CONCERN and the UNITED
STATES acting through the DEPARTMENT
OF HEALTH and HUMAN SERVICES,

                           Defendants.
///

///

DEFENDANTS LETTY OWINGS CENTER AND CENTRAL                                KEATING JONES HUGHES P.C.
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CITY CONCERN’S UNOPPOSED MOTION FOR AN                                      Portland, Oregon 97201-5730
EXTENSION OF TIME - Page 1                                                         (503) 222-9955
Doc No 1807029
                 Case 3:21-cv-01525-SI   Document 44       Filed 09/28/22    Page 2 of 4




                          CERTIFICATE OF COMPLIANCE WITH LR 7-1

           Counsel for Defendants Central City Concern (“CCC”), and Letty Owings Center (“Letty

Owings”) have conferred with counsel for all other parties named in this action. This Motion is

unopposed.

                                              MOTION

           Defendants seek a seven-day extension to file their Reply in Support of Motion to

Substitute. The United States’ Response to the Motion was filed on September 9, 2022. The

proposed extension would extend the schedule as follows:


Event                              Current Deadline                Proposed Deadline
Central City Concern’s Reply       September 30, 2022              October 7, 2022
in Support of Motion to
Substitute


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EXTENSION OF TIME - Page 2                                                             (503) 222-9955
Doc No 1807029
                 Case 3:21-cv-01525-SI    Document 44      Filed 09/28/22     Page 3 of 4




                                           CONCLUSION

           Defendants respectfully request that the Court grant their request and modify the deadline

as set forth above.

           DATED this 28th day of September, 2022.

                                                Respectfully submitted,

                                                KEATING JONES HUGHES, P.C.



                                                  s/Lindsey H. Hughes
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EXTENSION OF TIME - Page 3                                                              (503) 222-9955
Doc No 1807029
                 Case 3:21-cv-01525-SI   Document 44      Filed 09/28/22   Page 4 of 4




                                   CERTIFICATE OF SERVICE

           I hereby certify that I served the foregoing DEFENDANTS LETTY OWINGS

CENTER AND CENTRAL CITY CONCERN’S UNOPPOSED MOTION FOR AN

EXTENSION OF TIME on the following:


           Karl Anuta
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           Attorneys for Defendant United States
           Department of Health and Human Services

by electronically mailed notice from the court to above attorneys on said day.

           DATED this 28th day of September, 2022.

                                         KEATING JONES HUGHES, P.C.



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